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                              UNITED STATES DISTRICT COURTzozn FEB                        21 AM IQ: 28
                                        FOR THE
                                  DISTRICT OF VERMONT


ITHERM TECHNOLOGIES, L.P.,
           Plaintiff,

               V.                                           cAsE No.    ?.--:7.iJ ~ cv- V}
HIGH FREQUENCY POWER, LLC,
DYNAPOWER COMPANY, LLC, and
PETER POLLACK,
           Defendants.


                                    VERIFIED COMPLAINT

       Plaintiff !Therm Technologies, L.P., makes the following Complaint against the above-

named Defendants:

                                             PARTIES

       1.      Plaintiff !Therm Technologies L.P. ("!Therm LP") is a Delaware limited partnership.

Its General Partner is iTherm Technologies, LLC ("iTherm LLC"), a Delaware limited liability

company. The Manager of iTherm LLC is Wayne Collette, an adult resident of the State of New

Hampshire.

       2.      Defendant High Frequency Power, LLC ("HFP") is a Vermont limited liability

company with its principal place of business at 85 Meadowland Drive, South Burlington, Vermont.

       3.      Defendant Dynapower Company, LLC is a Vermont limited liability company with

its principal place of business at 85 Meadowland Drive, South Burlington, Vermont.

       4.      Defendant Peter Pollack is an adult resident of the State of Vermont.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332 as the matter in controversy

exceeds the sum of $75,000.00 and is between citizens of different states.
          6.        Venue is proper in this Court, as the events and transactions at issue took place and

plaintiff   s   principal residence is located within this judicial district.

                                                         FACTS

          7.        ITherm LP and HFP entered into an Intellectual Property Asset Purchase Agreement

                                                                         o'Seller,"
("APA") on September 10, 2010, whereby ITherm LP,                   as                sold, and HFP, as ooPurchaser,"

purchased, oocertain operating assets of Seller (hereinafter 'IP Assets')," consisting of                "(i)   the name

of Seller and associated goodwill (including all customer and prospect lists and information,

correspondence        with customers and prospects, proposals and contacts, phone number(s) and

website); (ii) all patents, patent applications, and patent rights held by Seller . . . (the 'Patent

Assets'), and all continuations, provisionals, reissues, reexamination applications, and foreign

counterparts of any of the Patent Assets; (iii) all notes, documentation and files . . . pertaining to the

Patent Assets;      (iv) all notes, documentation, and files . . . pertaining to any and all expired patents

that are not part of the Patent Assets; (v) all other intellectual property . . . ; (vi) tangible personal

property...;and(vii)theexistingcontractslistedonSchedulel(a)(vii)...(theoContracts')."

(APA fl 1.a).

         8.         In the course of negotiating the APA, Defendant Pollack disclosed his own valuation

of the IP Assets, which was $7.5 million.

         9.         Pursuant to the APA     1T   1.c, HFP agreed to pay to ITherm LP certain Earn Out

Payments, including: "i. Initial Earn Out Payments for a period commencing May 1 , 20                      1   0.   and

ending December         3I,20I9,   equal to 25% of EBITDA (defined below)r of the business of Purchaser

consisting of the development and sale of products using the Patent Assets (the 'Business'), up to an

aggregate maximum amount of Two              Million Dollars (the 'Initial Aggregate Amount');" and "ii.

I The APA defined EBITDA
                             as "with respect to any fiscal period, the net earnings (or loss) before interest expense,
taxes, depreciation, and amortization for such fiscal period, all as determined in accordance with consistently applied
generally accepted accounting principles." (APA, tT l(h).



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Additional Earn Out Payments for     a period   of 3 years or 3 years plus the balance of the initial

period of initial Earn Out Payments if those initial Earn Out Payments cease due to reaching the

Initial Aggregate Amount (e.g., if Initial Earn Out Payments aggregate $2 million in at the end of

year 7, additional Earn Out Payments would then extend for a period of 6 years), equal        to 10% of

EBITDA of the Business, without any aggregate limit."(APA fl         1.c).

        10.      Pursuant to the APA, HFP agreed to "annually provide audited financial statements

from Purchaser's independent accountants for the preceding calendar yeat," to be "completed and

delivered to Seller within one hundred eighty (180) calendar days after the end of such calendar

year," and ITherm LP was entitled to an "annual right to review Purchaser's books and records           as


they pertain to EBITDA in order to evaluate the accuracy of Earn Out Payments made by

Purchaser," and to "cause Purchaser's books and records as they pertain to EBITDA to be audited

by a cerlified public accounting firm of Seller's choosing in order to evaluate the accuracy of Earn

Out Payments made by Purchaser." (APA fl l.e).

        1   1.   Pursuant to the APA fl 1.c, Earn Out Payments "accrued in each calendar year (the

first such year being May 1-December 31) shall be made annually within thirty (30) days of the

Purchaser's receipt of audited financial statements from the Purchaser's independent certified public

accountants for the preceding calendar year, as further set forth in Section 1(e)," and "shall be

accompanied by a cerlified written statement from Purchaser setting forth all information and

calculations upon which the amount of such Earn Out Payment was based."

        12.      Pursuant to the APA fl 1.h, HFP "shall not, unless required by generally accepted

accounting principles or upon the consent of Seller, pay any management fee to or engage in any

other non-arm's length transactions with any person or entity affiliated with Purchaser or otherwise

make accounting changes that are intended to or are otherwise reasonably likely to artificially




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reduce the       EBITDA of the Business. If the Purchaser initiates any such material         changes or

payments, such changes or payments, unless required by generally accepted accounting principles,

shall be disregarded when calculating the EBITA for the Business."

        13.         Pursuant to the APA   1T   l.k, in the event HFP determines that "the return on

investment does not justify continuation of the Business or any further use of the IP Assets andlor

any attempt to sell the assets of the Business or the Business to any third party," then HFP must 'oso

notify Seller in writing and Seller shall have the option, at its expense and within ninety (90) days of

such notice, of recovering all of Purchaser's remaining right, title and interest in and to the IP

Assets, without payment of additional consideration to" HFP.

        14.         HFP has never notified ITherm LLP that the return on investment does not justifu

continuation of the Business or further use of the IP Assets and/or any attempt to sell the assets of

the Business or the Business to any third party

        15.         At all relevant times, the IP Assets have continued to be used, marketed and sold,

and the Business has continued to operate.

        16.         Defendant Pollack caused HFP to sell, transfer and/or assign the Business and/or the

IP Assets to Dynapower, and subsequently caused Dynapower to be sold to Pfingsten Partners,

LLC,

        17   .      Pursuant to the APA   fl f .i, "[u]pon the occurrence of a Transfer Event (defined

below), Purchaser shall be entitled to satisff the Purchase Price by way of payment/delivery to

Seller of twenty-five percent (25%) of the U.S. dollar value . .       .   of all net . . . consideration paid

or given by the purchaser/merging parf, up to an aggregate value . .            . of Two Million    Dollars

($2,000,000), less all Earn Out Payments previously paid to Seller. . . . A oTransfer Event' means

any one of the following: (i) the sale, assignment, or other transfer of substantially all of the assets




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of the Purchaser outside the ordinary course of business in one or a series of transactions; (ii) Peter

Pollack's transfer of more than 49Yo of the management, voting, or economic interests of the

Purchaser, in one or a series of transactions, and   (iii) the merger or consolidation of the Purchaser

with or into any other entity."

        18.    On information and belief, Defendant Pollack has caused HFP to engage in Transfer

Events without payment/delivery to Seller of twenty-five percent (25%) of the net consideration

paid and/or given by the purchaser/merging party.

        19.    On information and beliei Defendant Pollack has caused HFP to engage in non-

arms' length transactions and has otherwise made accounting changes that were intended andlor

reasonably likely to artificially reduce the EBITDA of the Business.

       20.     Pursuant to the APA ll 8.d, "[t]his Agreement shall not be assigned by the Purchaser

without the prior uryitten consent of the Seller, provided that Purchaser may freely assign this

Agreement to any entity in which Peter Pollack holds a majority ownership interest."

       21.     On information and belief, Defendant Pollack has caused HFP to effectively assign

the APA without the prior written consent of ITherm LP.




       23.     Defendants have failed and refused to annually provide audited financial statements

for the calendar years 2012,2013,2014,2015,2016,2017 and 2018, despite repeated demands.




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        24.       On October 3,2019, Plaintiff s counsel asked Defendants HFP and Pollack to

provide the missing audited financial statements and to permit Plaintiff to review the books and

records on October     17   ,2019. Plaintiff s counsel also demanded that HFP "take all steps    necessary

to assure that all documents and records, including electronically stored information within HFP's

possession, custody or control, which refer or relate in any way to HFP's operations and financial

affairs for the period 2010 through the present, and continuing, are preserved and protected against

intentional or unintentional loss, alteration or destruction."

        25.       On October 15,2019, HFP's registered agent confirmed receipt of this request and

promised to oocheck with Peter Pollack and I will be back in touch."

        26.      On October 16,2019, Defendants'counsel advised that "we aren't going to be ready

to get you what you are looking for by the l7th," and that "Peter Pollack has previously scheduled

travel which is going to delay the matter," and asked,"Canwe agree to December 17 for the

examination? Once we have an agreed date, I am sure we can find an appropriate place."

        27.      On October 17,2019, Defendants' counsel confirmed that HFP was complying with

Plaintifl   s preservation demand.


        28.      On October 17,2019, Plaintiff s counsel responded,'oDecember 17th works for us.

Please advise as to location. Please also note that we have requested audited financial statements

which are required by the Asset Purchase Agreement, but have not been provided for multiple

years. Please provide those without fuither delay." Defendants' counsel responded,       "I'll   be   in

touch with you about location as we near the date. I don't have the statements now, but anticipate

we'll be providing those on the      17th as   well."

        29.      On December 10, 2019, Plaintiff s counsel wrote to Defendants' counsel: 'oPlease

confirm the location for the records review next Tuesday, December 17th. Please provide the




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audited financial statements in advance of the record review. Per the contract, these were to have

been provided annually as a matter of course without a request."

         30.   On December 17,2019, Defendants' counsel sent Plaintiff s counsel copies      of

unaudited, reviewed financial statements as of December 31, 20II,2012,2013,and2014 (which

Plaintiff already had), and offered to "discuss with you production and inspection of the remaining

documents."




         32.   Defendants have failed and refused to permit Plaintiff to review Purchaser's books

and records, despite repeated demands.

         33.   Based on Defendants' conduct, Plaintiff has now concluded that Defendants' failure

to provide annual audited financial statements was intentional and not inadvertent or careless, and

that Defendants either never intended to comply with their contractual undertakings, and/or at some

point after executing the APA formed an intention not to comply and to conceal that intention from

Plaintiff.

        34.    Defendants have subjected Plaintiff to a continual, cumulative pattern of tortious

conduct, which continues through the present date, and has not yet ceased.

        35.    Defendant Pollack has controlled HFP and Dynapower and used their corporate

identities to perpetrate a fraud on Plaintiff, such that the corporate forms of HFP and Dynapower




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should be disregarded for purposes of this action, and the Defendants should be treated as a single,

unitary entity, or as alter egos of each other.

        36.     As a direct and proximate consequence of Defendants' conduct, Plaintiff has

sustained and continues to sustain losses and injuries for which Plaintiff is entitled to recover money

damages, including lost Earn Out payments and/or lost profits, as well as consequential and

incidental losses and expenses.

        37.    As a direct and proximate consequence of Defendants' conduct, Plaintiff has been

and continues to be ineparably harmed in a manner and to an extent that cannot be           fully or

adequately redressed by money damages.

        38.    Defendants' conduct was wanton, willful, and outrageous, and reflects malice andlor

a reckless disregard   for Plaintiff   s   rights and interests, such that an award of punitive damages is

appropriate.

                                                   COUNT ONE

       39.     The foregoing paragraphs are incorporated by reference.

       40.     Defendant HFP has breached and continues to breach the express terms of the APA.

        41.    Defendants HFP and Pollack have breached their implied contractual obligations of

good faith and fair dealing.

                                                  COUNT TWO

       42.     The foregoing paragraphs are incorporated by reference.

       43.     Defendants have provided false and misleading financial statements to the Plaintiff

and continue to conceal and/or fail to disclose material facts from        Plaintifi including EBITDA,

assignments, Transfer Events, non-arms' length transactions, and/or accounting changes that were

and are intended andlor reasonably likely to        artificially reduce the EBITDA of the Business.




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         44.    Defendants have intentionally concealed from Plaintiff their violations of the APA.

         45.    Defendants have acted willfully and with an intent to deceive Plaintiff.

         46.   In the alternative, Defendants have negligently failed to disclose material

information to Plaintiff which they knew or should have known was necessary to disclose, in order

to render their express representations not misleading and to prevent Plaintiff from continuing to

rely upon Defendants' express representations, to Plaintiffls detriment.

                                           COUNT THREE

         47.   The foregoing paragraphs are incorporated by reference.

         48.   Any transfers of the IP Assets subsequent to the effective date of the APA were

made with the actual intent to hinder, delay or defraud Plaintiff, and are therefore fraudulent as to

Plaintiff pursuant to 9.V.S.A. $$ 2288 and2289.

                                           COUNT F'OUR

         49.   The foregoing paragraphs are incorporated by reference.

        50.    Defendants entered into a special relationship with Plaintiff whereby Plaintiff

necessarily placed its trust and confidence in Defendant to protect Plaintiff s continuing interests in

the IP Assets after entering into the APA, and thereby owed and continue to owe fiduciary duties to

Plaintiff.

        51.    Defendants have breached and continue to breach their fiduciary duties to Plaintiff.

                                            COUNT FIVE

        52.    The foregoing paragraphs are incorporated by reference.

        53.    Defendants have conspired and agreed with each other and with third parties yet to

be identified to devise and implement the fraudulent scheme described above, and have acted,

separately and in concert with each other, in furtherance of their conspiracy.




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        WHEREFORE, Plaintiffdemands judgment in its favor and against the Defendants, jointly

and severally, together with an award of monetary and punitive damages in amounts to be

determined by the   jury,   and an Order providing for the following preliminary and/or permanent

equitable relief:

        (1)     avoidance of any transfer or obligation undertaken by Defendants respecting the IP

                Assets, to the extent necessary to satis$   Plaintiffs claims;

        (2)     disregarding the corporate forms of HFP and Dynapower for purposes of this action,

                and treating the Defendants as a single, unitary entity, or as alter egos of each other;

       (3)      an attachment or other provisional remedy against the asset hansfened or other

                property of the transferee;

       (4)      subject to applicable principles of equity:

                (A)     an injunction against further disposition by Defendants or their transferees, or

                        both, of the IP Assets, and freezing Defendants' accounts and assetspe ndente

                       lite;

                (B)    appointment of a receiver to take charge of the IP Assets, including any asset

                       transfened or of other property of the transferee;

                (C)    an accounting;

                (D)    any other relief the circumstances may require.


                                              JT'RY DEMAND

       Plaintiffrequests ajury on all claims.




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          DATED at Burlington, Vermont this   ffiuy        of February ,2020.

                                              BY: PAUL FRANK + COLLINS P.C

                                              BY
                                                                    Ellis
                                                        P.O. Box 1307
                                                        Burlington, Vermont 0540   1

                                                        802-658-23rr
                                                        sellis@pfclaw.com
                                                        Attorney for Plaintiff
7'185409 2:09541-00002




                                                   tl
                       VERIFICATION PURSUANT TO 28 U.S.C.                S1746

       I, Wayne Collette, in my capacity as Manager of iTherm Technologies LLC, the general

partner of ITherm Technologies, L.P., certify under penalties of perjury that I have read the Verified

Complaint and the allegations contained herein are true and, with respect to the allegations made on

information and belief that such allegations are true to the best of my knowledge and belief.

       Executed at Burlington, Vermont on the    ilglAuy    ot


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                                                                 iTherm Technologies LLC




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